Case 1:22-cr-20009-BB Document 25 Entered on FLSD Docket 08/05/2022 Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA,

 Plaintiff,                        CASE NO.: 22-CR-20009-BLOOM

 v.

 SERGIO ROMERO,

      Defendant.
 ________________________/

                       AGREED
 MOTION TO FILE THE FOURTH MOTION TO CONTINUE (DE#24)
                      UNDER SEAL

       COMES NOW the Defendant, Sergio Romero, by and through the

 undersigned attorneys, and, with the specific agreement of the

 Government through Assistant U.S. Attorney Bertila Fernandez, files

 this Agreed Motion to File the Fourth Agreed Joint Motion to Continue

 (DE #24) UNDER SEAL as the Motion to Continue contains

 confidential and sensitive material which could cause danger to the

 Defendant and could obstruct or interfere with ongoing investigations.

       This motion is made in good faith and is neither for the purpose

 of delay nor to gain some tactical or strategic advantage;

       WHEREFORE, this Court is respectfully requested to enter an
Case 1:22-cr-20009-BB Document 25 Entered on FLSD Docket 08/05/2022 Page 2 of 3




 Order granting the Defendant leave to file the Fourth Motion to

 Continue (DE#24) UNDER SEAL, and directing the Clerk to seal the

 Joint Fourth Motion to Continue.

                                          Respectfully submitted,

                                            ___s"/Michael D. Gelety___
                                           MICHAEL D. GELETY, ESQ.
                                           Counsel for Defendant Romero
                                          1209 SE 3rd Avenue
                                           Ft. Lauderdale, FL 33316
                                           (954) 462-4600
                                           Florida Bar #215473
                                           mgeletyattorney@gmail.com

                                          __s"/Barry Whitlin___
                                          BARRY E. WITLIN, ESQ.
                                          Co-Counsel for Romero
                                          7805 S.W. 6th Court
                                          Plantation, FL 33324
                                          (954)473-4500
                                          barrywitlin@gmail.com

                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the
 foregoing was filed using the Southern District of Florida’s CM-ECF
 system, and served by electronic filing this 5th day of August, 2022,
 to all Assistant U.S. Attorney Bertila Fernandez, Esq. at
 Bertila.Fernandez@usdoj.gov

                                          ___s"/Michael D. Gelety___
                                           MICHAEL D. GELETY, ESQ.
                                           Counsel for Defendant Romero

                                      2
Case 1:22-cr-20009-BB Document 25 Entered on FLSD Docket 08/05/2022 Page 3 of 3




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